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£ ts WISCONSIN DEPARTMENT OF CORRECTIONS
‘ 2 Governor Tony Evers / Secretary = A. Carr ~

Yeu op oe oo —-Waupun Correctionat Institution” — oe

Date: “March 30, 2023

To: WCI Population

From: Randall R. n tlooer
Warden

Subject: Restricted Movement and Activities

The first two objectives in the mission statement of the Wisconsin Department of Corrections are to protect the public,
our staff, and those in our charge, and to provide opportunities for positive change and success, The mission statement
lists these objectives in this order purposefully, as the latter is not possible without the former. That is, providing
opportunities within a correctional institution is simply not possible if we do not have a reasonably safe, secure, and
orderly environment. Unfortunately, we have reached a point in which restricting Opportunities is necessary to ensure the
safety of those who work and live at WCI. :

Recently, there has been a significant rise in disorder and defiance among an increasing number of those in our
population. This has been demonstrated through blatant disobedience and disrespect, disallowed movement/loitering,
possessing/creating contraband, and an increase in threats and violence. Participating in these behaviors challenges the
foundation on which a correctional institution operates, and cannot be tolerated. It is these behaviors which have created
the current status of restricted movement.

It is important to acknowledge that a significant portion of the population regularly engages in mature, respectful, and
compliant behavior. [ am grateful for the manner in which you conduct yourselves. The positive influences you bring to
the institution are admirable. Many of you have expressed frustration with some of the behaviors exhibited by others. [
share that frustration and | regret that their choices have created an undesired, but necessary, action. 1 wish they made
better choices. | appreciate your patience as we work to gain compliance from the rest of the population.

Many have asked, “When will this end?” The answer to that is not simple. We will remain in restricted movement for a
period of time while we reestablish expectations for everyday practices like count, movement, showers, etc. As the
majority of the population demonstrates a cooperative spirit in these activities, we will continue to add more opportunities
such as recreation, passes, etc.

There is great desire to return to ordinary operations as soon as it is practical and safe for that to occur. Actions such as
throwing debris out of cells, making threatening statements, and creating disruptions are not helpful and will unfortunately
likely delay the time it will take for ordinary operations to resume.

It is recognized that when movement and activities are restricted, is uncomfortable for everyone. I hope we will be able to
move forward as soon as possible. Cooperation, patience, and understanding provide the best opportunity for that to
happen.

Ce: file

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Ex- 2

WISCONSIN DEPARTMENT OF CORRECTIONS

Governor Tony Evers / Secretary Kevin A. Carr

Waupun Correctional Institution

DATE: April 18, 2023

TO: The Population of WCI

FROM: Randall R. Hep} WEN
Warden

SUBJECT: Update on Modified Movement, Activities and Expectations

On March 30, 2023 you received a correspondence explaining the need for restricted movement. In that correspondence ]
noted the need for a safe, secure, and orderly environment for everyone. Just as when | authored that message, many of you
have continued to demonstrate behavior that supports such an environment. | thank you again for your positive example
and maturity. | assure you we are working on ways to recognize your efforts and cooperation.

It is clear that a great many of you desire moving forward toward a more ordinary operation. | share that desire. However,
before that first step can be taken, it is necessary to reestablish some expectations that should have been followed all along.
When there is substantial compliance in meeting those expectations, it will be an indication that a cell hall or range(s) are -
coming nearer to resuming movement for that area. The initial expectations include:

1. Standing Count: Standing counts occur at 6:00 a.m., 11:45 a.m., 5:00 p.m., and 9:00 p.m. When count is
announced, each person is expected to be standing with the cell light on. Counts are conducted not only for
accountability but also to ensure the wellness of each person.

2. Cell Fronts: Cell fronts and bed frames are to be free of any items such as blankets, clothing or other articles to
allow clear visibility into the cell/bunks at all times. Provided privacy curtains are for toilet use only. This topic
will be examined further in the future.

3. “Fishing” Between Cells: There should be no items passed between cells or ranges by “fishing” from one cell to
another. Damage and/or misuse of state or personal items for this purpose is not allowed.

4. Garbage/ Refuse: No items are to be thrown out of your cell onto the range. These items are to be properly
disposed of when staff make rounds to collect garbage and other refuse.

5. Volume in the Cell Hall: It is expected that consideration be given to others who live in the cell hall.
Conversations between cells should be maintained at a volume that does not interfere with others and should cease
at times when it is expected others may be attempting to sleep. Volume of other activities should also be kept to a
level that does not disturb others.

As stated earlier, these are expectations that should have been followed all along. They are not unreasonable and they can
be met through individual choice by each person. As cooperation with these expectations increases, so does the potential
for resuming more ordinary movement and a return to visits, work, education, groups, and recreation. There is no timetable
for that to take place. The pace and extent for resuming activities will be based, in large part, on the pace and extent with
which cooperation occurs.

I hope the example set by those who have shown they are responsible, mature, and accountable people will become the
standard that all others will adopt for themselves. There is no doubt everyone desires a change from the current condition.
However, that change can only take place when there is confidence that doing so can be accomplished safely and orderly.
Following the basic expectations outlined in this message is the first step toward change. Each of you can be part of
making that happen.

Ce: All WCI Staff
file

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DEPARTMENT OF CORRECTIONS WISCONSIN

Division of Adult Institutions
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INTERVIEW/INFORMATION REQUEST EX ~4
SOLICITUD PARA INFORMACION / ENTREVISTA

Instruction to Inmate: Do not use this form to contact health staff. Use a Health, Dental or Psychological Service Request.
Instrucciones para Reclusos: No utilice este formulario para comunicarse con el personal de cuidados de salud. Utilice una solicitud de
servicio de cuidados de salud, dentales o psicoldgicos.

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